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EXHIBIT “C”
   

MEMORANDUM FOR THE RECORD - April 24, 2006

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Dr. Fernandez conferred today by telephone with Anand Dasrath about the failing grade
he earned for the 5" semester just concluded. Dr. Femandez informed Anand that he was
essentially two Standard Deviations from the norm. He said that Anand eamed aC on
the midterm exami, failed the final exam and had a Véry low score Oi thie essay portion
(63 out of a possible 200). He remarked that the lowest grade had been 61. He told
Anand that he failed the first write-up and got a marginal on the second. He said that

: would have been okay had everything else also been okay. He noted that Anand failed
the PE and had remediated that. He said that Anand’s overall grade placed him at the
bottoni of the class. He reminded Anand that extra credit cannot be applied to a failing

grade.

Dr. Fernandez told Anand that he would have to repeat the semester.

May start May 22

Will do three weeks of clinicals

Must do one write-up until a grade of Satisfactory or better is
achieved

Is exempt from Epi and the PE

Must attend Large and Small Group sessions (except for Epi)

Must take Mid-term and Final

Dr. Femandez told Anand that he would get individualized attention to help him succeed.

Dr. Femandez noted that Anmd passed the Comp. He pointed out that he could, ifhe
wishes, defer starting 5" semester until September, freeing up the interval for preparing
for Step 1. He said that ifhe chose to come il May he could extend his Step 1 window to
July, August, September.

Anand asked how he could have scored so poorly on the essays and said he worried that
his handwriting had challenged the graders. Dr. Fernandez said that he had graded two of
the seven essays himself. He did not recall trouble with anyone’s handwriting and had not
heard of a problem from anyone else. He reported that on the stroke essay Anand eamed
5 out of a possible 25 points; on Graves got no pomts, none for hepatitis, on sexual issues
aud HIV about the average, 20 of 50 on essay #7...

Anand asked if he would have to repeat the semester in ifs entirety. Dr. Fermandez,
explained that he would have to do the components listed above. Anand wondered if Dr.
Femandez knew that he had spent some 22 years in hospitals as a pharmacist and that,
consequently, he found the clinical activities to be not meaningful. Dr. Fernandez said he
regretted that Anand had not mentioned his dissatisfaction earlier but promised to make
sure to work closely with Anand to ensure the relevance of the activities he is assigned.

in answer to Anand’s question, he said that he would be responsible for full tuition but
would be eligible for financial aid,

 
